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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                      C.A. No. 1:20-cv-22051-DPG

  SISVEL INTERNATIONAL S.A.,
  3G LICENSING S.A., and SISVEL S.p.A.,

                        Plaintiffs,
                                                       JURY TRIAL DEMANDED
         v.

  HMD AMERICA, INC.,
  and HMD GLOBAL OY,

                        Defendants.



       NOTICE OF FILING DECLARATION OF REGIS BATES IN SUPPORT OF
    PLAINTIFFS’ SISVEL INTERNATIONAL S.A., 3G LICENSING S.A., AND SISVEL
                       S.P.A.’S CLAIM CONSTRUCTIONS

         Plaintiffs, Sisvel International S.A., 3G Licensing S.A., and Sisvel S.p.A., through its

  undersigned counsel, hereby file the declaration of Regis Bates in Support Of Plaintiffs’ Sisvel

  International S.A., 3g Licensing S.A., and Sisvel S.P.A.’S Claim Constructions.


  Dated: March 1, 2021                         Respectfully submitted,

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